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                  EXHIBIT A
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                                                                                                                          Exhibit A
                                                                                                                         Service List

                    Name                                                                                              Address                                                                   Email                   Method of Service
Burning Games                                  Iparragirre 60 5D                                  48010 Vizcaya                        Spain                                                                        First Class Mail
Burning Games Sociedad Cooperativa             Attn: Helio de Grado Fernandez                     Iparragirre 60 5D                    48010 Vizcaya                Spain                                           First Class Mail
Pequena (BRG)
Burning Wheel (GHQ)                            Attn: Luke Crane                                   26-47 30th St                        Astoria, NY 11102                                                            First Class Mail
Capstone Games, LLC (CSG)                      Attn: Clay Ross                                    2 Techview Dr                        Cincinnati, OH 45215                                                         First Class Mail
Chaosium, INC (CHA)                            3450 Wooddale Ct                                   Ann Arbor, MI 48104                                                                                               First Class Mail
Compass Games                                  Attn: Ken Dingley                                  P.O. Box 271                         Cromwell, CT 06416                                                           First Class Mail
Dan Verssen Games                              1775 State Hwy 26                                  Grapevine, TX 76051                                                                                               First Class Mail
Dave Taylor Miniatures, LLC                    3128 Abell Ave                                     Baltimore, MD 21218                                                                                               First Class Mail
Dex Protection, LLC                            Attn: Howard Hsu                                   402 S San Gabriel Blvd               San Gabriel, CA 91776                                                        First Class Mail
Dietz Foundation Games                         311 N Sunrise St                                   Sigel, IL 62462                                                                                                   First Class Mail
Draco Studios                                  Attn: Caroline Pritchard-Law                       848 Brickell Ave                     Miami, FL 33131                                                              First Class Mail
Elf Creek Games                                P.O. Box 7594                                      Champaign, IL 61826                                                                                               First Class Mail
Folded Space EOOD (FLD)                        Attn: Richard Coupland, Owner                      JK Sofia Park                        Sofia 1766                   Bulgaria                                        First Class Mail
Gamelyn Games (GLG)                            Attn: Nathan Hatfield                              18933 E San Tan Blvd, Ste 103        Queen Creek, AZ 85142                                                        First Class Mail
Genius Games, LLC (GEN)                        Attn: Patrick Fitzgibbon                           2079 Congressional Dr                Saint Louis, MO 63146                                                        First Class Mail
Goodman Games LLC                              51 Piper Ln                                        Fairfax, CA 94930                                                                                                 First Class Mail
Hammerdog Games (HDG)                          Attn: Danny O'Neill                                1115 Columbia St                     Fort Wayne, IN 46805                                                         First Class Mail
Happy Camper Games                             Attn: Jason Schneider                              160 Alewife Brook                    Cambridge, MA 02138                                                          First Class Mail
Hit Point Press (HPP)                          Attn: Ricardo Evangelho, CEO, Owner                1175 Brookfield Rd E                 Ottawa, ON K1V 0C3           Canada                                          First Class Mail
Hush Hush Projects USA LLC (HHP)               Attn: Richard Gain, Managing Agent/Sales Manager   16 Gulph Mill Rd                     Somers Point, NJ 08244                                                       First Class Mail
INCREDIBLE DREAM STUDIOS, INC.                 Attn: Jane Hoffacker, CEO & Co-Founder             2261 Market St, Ste 4475             San Fransico, CA 92106                                                       First Class Mail
Jordan Draper Games                            Attn: Jordan Draper Games                          117 E Calbourne Ln, Ste I3           Sandy, UT 87040                                                              First Class Mail
Left Justified, LLC                            1160 County Rd C2 W                                Roseville, MN 55113                                                                                               First Class Mail
Loren Coleman (Catalyst Games)                 5003 Main St, Ste 110                              Tacoma, WA 98407                                                                                                  First Class Mail
Lucky Duck Games (LKY)                         Attn: Anthony Boyd                                 2 Techview Dr                        Cincinnati, OH 45215,                                                        First Class Mail
Luminary Games                                 Attn: Aaron Shaw                                   4068 Kingston St                     Bellingham, WA 98226                                                         First Class Mail
Mantic Games                                   193 Hempshill Ln                                   Bulwell Nottingham, Notts, NG6 8PF   United Kingdom                               ronnie.renton@manticgames.com   Email
                                                                                                                                                                                                                    First Class Mail
Mayday Games, INC (MDG)                        Attn: Seth Hiatt, Owner                            380 W 700 S                          Springville, UT 84663                                                        First Class Mail
Metallic Dice Games (MDG)                      Attn: Adam Hackett                                 2919 Greenbriar Dr                   Fort Wayne, IN 46804                                                         First Class Mail
Mr. B Games                                    Attn: Sean Brown                                   312 American Greeting Card Rd        Corbin, KY 40701                                                             First Class Mail
Nauvoo Games LLC                               Attn: Bill White                                   2020 Lawrence St, Unit 422           Denver, CO 80205                                                             First Class Mail
North Star Games, LLC (IWG)                    Attn: Satish Pillalamarri                          10605 Concord St                     Kensington, MD 20895                                                         First Class Mail
Reaper Miniatures (RPR)                        Attn: Ed Pugh, President                           P.O. Box 2107                        Lake Dallas, TX 75065-2107                                                   First Class Mail
Skyscraper Studios, Inc. d/b/a Roll for Combat Attn: Stephen Glicker                              16 Continental Rd                    Scarsdale, NY 10583                                                          First Class Mail
Snowbright Studio                              1500 Chagrin River Rd                              Gates Mills, OH 44040                                                                                             First Class Mail
Snowdale Design Oy                             Attn: Sami Laakso                                  Yrjönkatu 5 D 59                     28100 Pori                   Finland                                         First Class Mail
Tasty Minstrel Games, LLC (TTT)                Attn: Michael Mindes                               4812 W Cattle                        Mountain Green, UT 84050                                                     First Class Mail
The Little Plastic Train Company               Attn: Stephen Aslett                               1004 Prairie St, Ste 200             Houston, TX 77002                                                            First Class Mail
Treasure Fall Games (Quest Kids)               Attn: Dustin McMillan                              13 Memorial Point Ln                 Houston, TX 77024                                                            First Class Mail
Ultra Pro International LLC                    6049 Slauson Ave                                   City of Commerce, CA 90040                                                                                        First Class Mail
USAOPOLY, Inc.                                 5607 Palmer Way                                    Carlsbad, CA 92010                                                                                                First Class Mail
Van Ryder Games (VRG)                          Attn: AJ Porfirio, President                       3011 Harrah Dr                       Spring Hill, TN 37174                                                        First Class Mail
Wargames Atlantic LLC (WGA)                    Attn: Matt Hudson, President                       270 Bellevue Ave                     Newport, RI 02840                                                            First Class Mail
Warlord Games                                  T04/T10 Technology Wing                            Nottingham, NG7 2BD                  United Kingdom                                                               First Class Mail




Diamond Comic Distributors, Inc., et al. (Case No. 25-10308)
